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                EXHIBIT B
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     Attorneys for Defendants and Counterclaimants
 9   YOUTUBE, LLC and GOOGLE LLC
10                                UNITED STATES DISTRICT COURT
11                               NORTHERN DISTRICT OF CALIFORNIA
12                                   SAN FRANCISCO DIVISION
13   MARIA SCHNEIDER and PIRATE MONITOR               )   CASE NO.: 3:20-cv-04423-JD
     LTD, individually and on behalf of all others    )
14                                                    )   DEFENDANTS AND
     similarly situated,
                                                      )   COUNTERCLAIMANTS
15                                                    )
                   Plaintiffs,                            YOUTUBE, LLC AND GOOGLE
                                                      )   LLC’S RESPONSES AND
16                                                    )
            v.                                            OBJECTIONS TO PLAINTIFFS’
                                                      )
17                                                    )   FIRST SET OF REQUESTS FOR
     YOUTUBE, LLC and GOOGLE LLC,                         PRODUCTION (NOS. 1-77)
                                                      )
18                                                    )
                   Defendants.                        )   Judge: Hon. James Donato
19                                                    )
                                                      )
20                                                    )
     YOUTUBE, LLC and GOOGLE LLC,                     )
21                                                    )
                   Counterclaimants,                  )
22                                                    )
            v.                                        )
23                                                    )
                                                      )
24   PIRATE MONITOR LTD,                              )
                                                      )
25                 Counterclaim Defendant.            )
                                                      )
26                                                    )
27

28
     DEFENDANTS’ RESPONSES AND OBJECTIONS                              CASE NO. 3:20-CV-04423-JD
     TO PLAINTIFFS’ FIRST SET OF REQUESTS FOR
     PRODUCTION
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 1          Pursuant to Federal Rules of Civil Procedure 26 and 34 and the Local Rules of the United

 2   States District Court for the Northern District of California, Defendants and Counterclaimants

 3   YouTube, LLC and Google LLC (collectively, “Defendants”) hereby respond to Plaintiff Maria

 4   Schneider’s and Plaintiff and Counterclaim-defendant Pirate Monitor LTC’s (collectively,

 5   “Plaintiffs”) First Set of Requests for Production (“Requests”) as follows:

 6                                   PRELIMINARY STATEMENT

 7          The following responses are provided subject to all appropriate objections (including,
 8   without limitation, objections concerning competency, relevancy, materiality, and propriety) that
 9   would require the exclusion of any statement contained herein if the statement were made by a

10   witness present and testifying in court.
11          In addition, all responses to the Requests are based upon the information presently known
12   to Defendants, and Defendants expressly reserve the right to revise and supplement their
13   responses to the Requests. A response to a Request shall not be deemed a waiver of any
14   applicable objection or an admission of relevancy.
15          To the extent the Requests would require the production of information that implicates
16   the personal privacy interests of individual employees or agents and/or of third parties of
17   Defendants, the parties need to implement appropriate protections for personal privacy before
18   Defendants will produce any materials responsive to the Requests.
19                    OBJECTIONS TO DEFINITIONS AND INSTRUCTIONS
20          1.      As a threshold matter, Plaintiffs’ prolix Definitions, much like the Complaint, are
21   replete with unsubstantiated assumptions and improper advocacy. Their byzantine structure,

22   vagueness, and overbreadth render interpreting the Requests themselves (let alone drafting

23   responses) an unduly burdensome effort that is disproportionate to the needs of this case.

24          2.      Defendants object to the definition of “Account Monetization Program” as vague

25   and ambiguous. In particular, the definition is vague and ambiguous in its use of the undefined

26   terms “program” and “compensation.” Defendants further object to this definition as overly
27   broad and unduly burdensome to the extent it encompasses information not relevant to the
28
     DEFENDANTS’ RESPONSES AND OBJECTIONS
     TO PLAINTIFFS’ FIRST SET OF REQUESTS FOR          -2-                    CASE NO. 3:20-CV-04423-JD
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 1   parties’ claims or defenses and would require Defendants to collect information that is

 2   disproportionate to the needs of this case. For purposes of responding to the Requests, the

 3   “Account Monetization Program” will be defined as the five monetization features (“Advertising

 4   revenue,” “Channel memberships,” Merchandise shelf,” “Super Chat & Super Stickers,” and

 5   “YouTube Premium Revenue”) that enable some users to make money on YouTube. See “How

 6   to earn money on YouTube,” https://support.google.com/youtube/answer/72857?hl=en.

 7           3.     Defendants object to the definition of “AutoPlay Feature” as vague and
 8   ambiguous. In particular, the definition is vague and ambiguous in its use of the undefined term
 9   “queues.” Plaintiffs’ “description” in Paragraph 37 of the Complaint provides no more clarity, as

10   it merely parrots the vague and ambiguous definition provided in these Requests. Defendants
11   further object to this definition as overly broad and unduly burdensome to the extent it
12   encompasses information not relevant to the parties’ claims or defenses and would require
13   Defendants to collect information that is disproportionate to the needs of this case.
14           4.     Defendants object to the definition of “CMI Video” as vague and ambiguous. In
15   particular, the definition is vague and ambiguous in its use of the undefined terms “CMI,”
16   “containing,” and “initiated.” Defendants further object to this definition as overly broad and
17   unduly burdensome to the extent it requires Defendants to collect information relating to every
18   video uploaded to YouTube, regardless of their relevance to the parties’ claims or defenses in
19   this case.
20           5.     Defendants object to the definition of “Communication” to the extent it exceeds
21   the scope contemplated by the Federal Rules of Civil Procedure, the Local Rules of the United

22   States District Court for the Northern District of California, or other applicable law. Defendants

23   further object to the definition as overly broad and unduly burdensome to the extent it

24   encompasses information not relevant to the parties’ claims or defenses and would require

25   Defendants to collect information that is disproportionate to the needs of this case.

26           6.     Defendants object to the definition of “Concerning” as vague and ambiguous. In
27   particular, the term is vague and ambiguous in its use of the undefined terms “relating,”
28
     DEFENDANTS’ RESPONSES AND OBJECTIONS
     TO PLAINTIFFS’ FIRST SET OF REQUESTS FOR           -3-                   CASE NO. 3:20-CV-04423-JD
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 1   “referring,” “describing,” “evidencing,” and “construing.” Defendants further object to this

 2   definition as overly broad and unduly burdensome to the extent it encompasses information not

 3   relevant to the parties’ claims or defenses and would require Defendants to collect information

 4   that is disproportionate to the needs of this case.

 5          7.      Defendants object to the definition of “Content ID System” as vague and

 6   ambiguous. In particular, the definition is vague and ambiguous in its use of the phrase “YOUR

 7   copyright management tool.” Defendants have created and made available many tools for

 8   protecting the copyrights of others. Defendants further object to Plaintiffs’ descriptions in

 9   Paragraphs 2, 8, 9, 10, and 12 of the Complaint as inaccurate in their characterization of Content

10   ID. Defendants specifically object to Plaintiffs’ characterization of Content ID as being

11   “completely divorced” from YouTube, LLC’s repeat-infringer policy. See Compl. ¶ 12. For

12   purposes of responding to the Requests, the “Content ID System” will be defined as a tool

13   YouTube provides to certain users for the purpose of managing copyrighted works that scans

14   videos uploaded to YouTube and compares them against reference files previously provided to

15   YouTube by copyright owners. See “How Content ID works,”

16   https://support.google.com/youtube/answer/2797370?hl=en.

17          8.      Defendants object to the definition of “Copyright Strike” as vague and
18   ambiguous. In particular, the definition is vague and ambiguous in its use of the phrase
19   “following a Takedown Notice.” Defendants further object to this definition as overly broad and
20   unduly burdensome to the extent it encompasses information not relevant to the parties’ claims
21   or defenses and would require Defendants to collect information that is disproportionate to the

22   needs of this case. For purposes of responding to the Requests, “Copyright Strike” will be

23   defined as the warning that a user receives when YouTube has removed the user’s video from the

24   YouTube service because a copyright owner submitted to YouTube a complete and valid legal

25   request asking YouTube to do so. See “Copyright strike basics,”

26   https://support.google.com/youtube/answer/2814000?hl=en.
27

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     DEFENDANTS’ RESPONSES AND OBJECTIONS
     TO PLAINTIFFS’ FIRST SET OF REQUESTS FOR              -4-                 CASE NO. 3:20-CV-04423-JD
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 1          9.      Defendants object to the definition of “Document” to the extent it exceeds the

 2   scope contemplated by the Federal Rules of Civil Procedure, the Local Rules of the United States

 3   District Court for the Northern District of California, or other applicable law. Defendants further

 4   object to this definition as overly broad and unduly burdensome to the extent it encompasses

 5   information not relevant to the parties’ claims or defenses and would require Defendants to

 6   collect information that is disproportionate to the needs of this case.

 7          10.     Defendants object to the definition of “ID3 Tags” as vague and ambiguous. In

 8   particular, the definition is vague and ambiguous in its use of the undefined terms “metadata

 9   container,” “audio files,” and “ID3v1 and ID3v2 tags.”

10          11.     Defendants object to the definition of “Metadata” as overly broad (especially

11   insofar as it encompasses “any information”), vague, and ambiguous. In particular, the definition

12   is vague and ambiguous in its use of the phrases “attached to,” “embedded in,” “part of,” and

13   “provides information.”

14          12.     Defendants object to the definition of “Unsuccessful Takedown Notice” as vague

15   and ambiguous. In particular, the definition is vague and ambiguous in its use of the term

16   “Successful Takedown Notice.” Defendants further object to this definition as overly broad and

17   unduly burdensome to the extent it encompasses information not relevant to the parties’ claims

18   or defenses and would require Defendants to collect information that is disproportionate to the

19   needs of this case.

20          13.     Defendants object to the definition of “Unsuccessful Takedown Notice Video” as

21   vague and ambiguous. In particular, the definition is vague and ambiguous in its use of the

22   undefined terms “Your platform,” “submitted,” “Unsuccessful Takedown Notice,” “used,”

23   “reproducing,” and “performing.” The definition is further vague and ambiguous in its use of the

24   phrase “were the subject of.” Defendants also object to the definition to the extent it calls for a

25   legal conclusion as to whether content has been reproduced or performed. Defendants further

26   object to this definition as overly broad and unduly burdensome to the extent it encompasses
27

28
     DEFENDANTS’ RESPONSES AND OBJECTIONS
     TO PLAINTIFFS’ FIRST SET OF REQUESTS FOR            -5-                    CASE NO. 3:20-CV-04423-JD
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 1   information not relevant to the parties’ claims or defenses and would require Defendants to

 2   collect information that is disproportionate to the needs of this case.

 3          14.     Defendants object to the definition of “Pirate Monitor” as overly broad, vague and

 4   ambiguous, and unduly burdensome. In particular, the definition is overly broad because it

 5   encompasses “present or former … agents, representatives … investigators … advisors, and any

 6   other person acting on its behalf.” For purposes of responding to the Requests, “Pirate Monitor”

 7   will be defined as Pirate Monitor LTD and those authorized agents and employees known or

 8   believed to be acting on its behalf and within the scope of their agency or employment.

 9          15.     Defendants object to the definition of “Pirate Monitor Infringing Videos” as

10   vague and ambiguous. In particular, the definition is vague and ambiguous in its use of the

11   undefined terms “Your platform,” “uses,” “Pirate Monitor Works,” “reproducing,” and

12   “performing.” Defendants also object to the definition to the extent it calls for a legal conclusion

13   as to whether content has been reproduced or performed under the Copyright Act. Defendants

14   further object to this definition as overly broad and unduly burdensome to the extent it

15   encompasses information not relevant to the parties’ claims or defenses and would require

16   Defendants to collect information that is disproportionate to the needs of this case. Moreover,

17   Defendants object that this term is meaningless and untimely because Plaintiffs have failed to

18   identify any allegedly infringing content in their Complaint or in discovery, including but not

19   limited to, in response to Defendants’ Interrogatory No. 2.

20          16.     Defendants object to the definition of “Pirate Monitor Works” as vague and

21   ambiguous. In particular, Defendants object that the definition is vague and ambiguous in its use

22   of the term “exclusive copyrights.” Defendants object that this definition encompasses

23   documents concerning works that have not been identified as Works In Suit. Defendants also

24   object to the definition to the extent it calls for a legal conclusion as to whether Plaintiff and

25   Counterclaim-defendant Pirate Monitor LTD holds “exclusive copyrights” in any works.

26   Defendants further object to this definition as overly broad and unduly burdensome to the extent
27   it encompasses information not relevant to the parties’ claims or defenses (especially insofar as it

28
     DEFENDANTS’ RESPONSES AND OBJECTIONS
     TO PLAINTIFFS’ FIRST SET OF REQUESTS FOR            -6-                     CASE NO. 3:20-CV-04423-JD
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 1   encompasses works not identified by Plaintiff and Counterclaim-defendant Pirate Monitor LTD

 2   as Works In Suit and/or United States works not timely registered with the United States

 3   Copyright Office) and would require Defendants to collect information that is disproportionate to

 4   the needs of this case. For purposes of these responses, Defendants will interpret “Pirate Monitor

 5   Works” to be limited to the Works In Suit identified in response to Defendants’ Interrogatory

 6   No. 1.

 7            17.   Defendants object to the definition of “Performance Rights Organizations” as

 8   overly broad and unduly burdensome to the extent it encompasses information not relevant to the

 9   parties’ claims or defenses and would require Defendants to collect information that is

10   disproportionate to the needs of this case.

11            18.   Defendants object to the definition of “Red Flag Knowledge” as calling for a legal

12   conclusion. Defendants also object that this definition encompasses documents concerning works

13   that have not been identified as Works In Suit. Defendants further object to this definition as

14   overly broad and unduly burdensome to the extent it encompasses information not relevant to the

15   parties’ claims or defenses and would require Defendants to collect information that is

16   disproportionate to the needs of this case.

17            19.   Defendants object to the definition of “Removed Takedown Notice Video” as

18   vague and ambiguous. In particular, the definition is vague and ambiguous in its use of the

19   undefined term “Your platform” and the phrases “was removed, deleted, or no longer displayed”

20   and “because of.” Defendants also object that this definition encompasses documents concerning

21   works that have not been identified as Works In Suit. Defendants further object to this definition

22   as overly broad and unduly burdensome to the extent it encompasses information not relevant to

23   the parties’ claims or defenses and would require Defendants to collect information that is

24   disproportionate to the needs of this case.

25            20.   Defendants object to the definition of “Removed Takedown Notice Re-upload” as

26   vague and ambiguous. In particular, the definition is vague and ambiguous in its use of the
27   undefined terms “substantively identical,” “aspect,” “removed Takedown Notice Video,”

28
     DEFENDANTS’ RESPONSES AND OBJECTIONS
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 1   “target,” and “Successful Takedown Notice.” Defendants also object that this definition

 2   encompasses documents concerning works that have not been identified as Work In Suit.

 3   Defendants further object to this definition as overly broad and unduly burdensome to the extent

 4   it encompasses information not relevant to the parties’ claims or defenses and would require

 5   Defendants to collect information that is disproportionate to the needs of this case.

 6          21.     Defendants object to the definition of “Repeat Infringer” to the extent it calls for a

 7   legal conclusion. Defendants further object to this definition as overly broad and unduly

 8   burdensome to the extent it encompasses information not relevant to the parties’ claims or

 9   defenses and would require Defendants to collect information that is disproportionate to the

10   needs of this case.

11          22.     Defendants object to the definition of “Schneider” as overly broad, vague and

12   ambiguous, and unduly burdensome. In particular, the definition is overly broad because it

13   encompasses “all agents, representatives … investigators … advisors, and any other person

14   acting on her behalf.” For purposes of responding to the Requests, “Schneider” will be defined as

15   Maria Schneider and persons known or believed to be acting on her behalf .

16          23.     Defendants object to the definition of “Schneider Infringing Videos” as vague and

17   ambiguous. In particular, the definition is vague and ambiguous in its use of the undefined terms

18   “Your platform,” “uses,” “Schneider Works,” “reproducing,” and “performing.” Defendants also

19   object to the definition to the extent it calls for a legal conclusion as to whether content has been

20   reproduced or performed under the Copyright Act. Defendants further object to this definition as

21   overly broad and unduly burdensome to the extent it encompasses information not relevant to the

22   parties’ claims or defenses and would require Defendants to collect information that is

23   disproportionate to the needs of this case. Moreover, Defendants object that this term is

24   meaningless and untimely because Plaintiffs have failed to identify any allegedly infringing

25   content in their Complaint or in discovery, including but not limited to, in response to

26   Defendants’ Interrogatory No. 2.
27

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     DEFENDANTS’ RESPONSES AND OBJECTIONS
     TO PLAINTIFFS’ FIRST SET OF REQUESTS FOR            -8-                    CASE NO. 3:20-CV-04423-JD
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 1          24.     Defendants object to the definition of “Schneider Works” as vague and

 2   ambiguous. In particular, Defendants object that the definition is vague and ambiguous in its use

 3   of the term “exclusive copyrights.” Defendants object that this definition encompasses

 4   documents concerning works that have not been identified as Works In Suit. Defendants also

 5   object to the definition to the extent it calls for a legal conclusion as to whether Plaintiff Maria

 6   Schneider holds “exclusive copyrights” in any works. Defendants further object to this definition

 7   as overly broad and unduly burdensome to the extent it encompasses information not relevant to

 8   the parties’ claims or defenses (especially insofar as it encompasses works not identified by

 9   Plaintiff Maria Schneider as Works In Suit and/or United States works not timely registered with

10   the United States Copyright Office) and would require Defendants to collect information that is

11   disproportionate to the needs of this case. For purposes of these responses, Defendants will

12   interpret “Schneider Works” to be limited to the Works In Suit identified in response to

13   Defendants’ Interrogatory No. 1.

14          25.     Defendants object to the definition of “Tags” as vague and ambiguous. In

15   particular, the definition is vague and ambiguous in its use of the undefined term “descriptive

16   keywords” and the phrase “find content.”

17          26.     Defendants object to the definition of “Takedown Notice” as vague, ambiguous,

18   and overly broad. In particular, the definition is vague and ambiguous in its use of the term

19   “request” and the phrases “any other way” and “via Your online platform.” Defendants object

20   that the definition is overly broad and unduly burdensome to the extent it extends beyond notices

21   submitted to Defendants. Defendants also object to the definition to the extent it calls for a legal

22   conclusion as to whether content has been posted or displayed without license or permission.

23   Defendants further object to the definition to the extent it encompasses non-written

24   communications that do not satisfy the requirements set forth in 17 U.S.C. § 512(c)(3). For

25   purposes of responding to the Requests, “Takedown Notice” will be defined as notices that are

26   compliant with 17 U.S.C. § 512(c)(3) and have been submitted through YouTube LLC’s online
27   form, see “Submit a copyright takedown notice,”

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     DEFENDANTS’ RESPONSES AND OBJECTIONS
     TO PLAINTIFFS’ FIRST SET OF REQUESTS FOR            -9-                    CASE NO. 3:20-CV-04423-JD
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 1   https://support.google.com/youtube/answer/2807622?hl=en, or to YouTube’s designated agent

 2   via email, facsimile, or postal mail, see “Copyright Contact Information,”
 3   https://support.google.com/youtube/answer/6005908?hl=en.
 4          27.     Defendants object to the term “Successful Takedown Notice” as vague and
 5   ambiguous. In particular, the definition is vague and ambiguous in its use of the phrases
 6   “resulted in a Removed Takedown Notice Video” and “otherwise determined set forth a
 7   meritorious claim.” Defendants object to the definition to the extent it calls for a legal
 8   conclusion. Defendants also object that this definition encompasses documents concerning works
 9   that have not been identified as Works In Suit. Defendants further object to this definition as

10   overly broad and unduly burdensome to the extent it encompasses information not relevant to the
11   parties’ claims or defenses and would require Defendants to collect information that is
12   disproportionate to the needs of this case.
13          28.     Defendants object to the definition of “Successful Takedown Notice Video” as
14   vague and ambiguous. In particular, the definition is vague and ambiguous in its use of the
15   undefined terms “Your platform,” “submitted,” “used,” and “Successful Takedown Notice.” The
16   definition is further vague and ambiguous in its use of the phrase “were the subject of.”
17   Defendants also object to the definition to the extent it calls for a legal conclusion as to whether
18   content has been reproduced or performed under the Copyright Act. Defendants also object that
19   this definition encompasses documents concerning works that have not been identified as Works
20   In Suit. Defendants further object to this definition as overly broad and unduly burdensome to
21   the extent it encompasses information not relevant to the parties’ claims or defenses and would

22   require Defendants to collect information that is disproportionate to the needs of this case.

23          29.     Defendants object to the definition of “You,” “Your,” and “Yourself” on the

24   grounds that the definition is overbroad, vague and ambiguous, and unduly burdensome.

25   Defendants further object to the definition to the extent it seeks information not currently in the

26   possession, custody, or control of Defendants. Defendants will respond solely on behalf of
27   themselves (Google LLC and YouTube, LLC), and not any other subsidiaries or affiliates, or any
28
     DEFENDANTS’ RESPONSES AND OBJECTIONS
     TO PLAINTIFFS’ FIRST SET OF REQUESTS FOR           -10-                    CASE NO. 3:20-CV-04423-JD
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 1   other person or entity. Defendants further object to the definition on the grounds that it includes

 2   Defendants’ attorneys and requires Defendants to provide a legal conclusion or to produce

 3   information that is protected by any privilege, including the attorney-client privilege, work

 4   product immunity doctrine, common interest privilege, or any other applicable privilege,

 5   immunity, or restriction on discovery. For purposes of responding to the Requests, “You,”

 6   “Your,” and “Yourself” will be defined as Google LLC, YouTube, LLC, and those authorized

 7   agents and employees acting on its behalf and within the scope of their agency or employment.1

 8           30.    Defendants object to the definition of “YouTube Partner Program” as vague and
 9   ambiguous. In particular, the term is vague and ambiguous in its use of the phrase “uses AdSense

10   to monetize content posted to Users.” Defendants further object to this definition as overly broad
11   and unduly burdensome to the extent it encompasses information not relevant to the parties’
12   claims or defenses and would require Defendants to collect information that is disproportionate
13   to the needs of this case. For purposes of responding to the Requests, the “YouTube Partner
14   Program” will be defined as the program that gives YouTube content creators access to
15   YouTube’s Creator Support Teams, Copyright Match Tool, and monetization features. See
16   “YouTube Partner Program overview & eligibility,”
17   https://support.google.com/youtube/answer/72851?hl=en.
18           31.    Defendants object to the Instructions accompanying Plaintiffs’ Requests to the
19   extent that such Instructions purport to impose obligations on Defendants in excess of the
20   Federal Rules of Civil Procedure, the Local Rules of the United States District Court for the
21   Northern District of California, the Standing Order for Discovery in Civil Cases before Judge

22   Donato, or any other applicable law, or to the extent that the Instructions purport to require

23   Defendants to take actions or provide information not required by or which exceed the scope of

24   the Federal Rules of Civil Procedure, the Local Rules of the United States District Court for the

25

26
27   1
      Per the parties’ agreement, Defendants will produce otherwise discoverable information that is
28   retained by, owned by, possessed by, or in the control of Alphabet Inc.

     DEFENDANTS’ RESPONSES AND OBJECTIONS
     TO PLAINTIFFS’ FIRST SET OF REQUESTS FOR          -11-                    CASE NO. 3:20-CV-04423-JD
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 1   Northern District of California, the Standing Order for Discovery in Civil Cases before Judge

 2   Donato, or any other applicable law.

 3          32.     Defendants object to Instruction No. 8 insofar as it calls for information beyond

 4   the scope of the three-year statute of limitations applicable to Plaintiffs’ claims. See 17 U.S.C. §

 5   507(b). Defendants will produce reasonably accessible non-privileged documents following an

 6   inquiry proportionate to the needs of the case for the three-year period predating the filing of the

 7   Complaint.

 8          SPECIFIC RESPONSES AND OBJECTIONS TO DOCUMENT REQUESTS

 9   DOCUMENT REQUEST NO. 1:

10          All Documents Concerning any of the alleged facts in the Complaint, the Answer,
     and Counterclaims, the Response to Counterclaims, or any statement of fact contained in
11   any other Document filed in this Lawsuit.
12   RESPONSE TO DOCUMENTS REQUEST NO. 1:

13          Defendants object to this Request on the grounds that it is vague, ambiguous, unduly

14   burdensome, and overly broad (especially insofar as it demands that Defendants produce “[a]ll”

15   documents). In particular, Defendants object to the Request because it is vague and ambiguous in

16   its use of the terms “alleged facts” and “statement of fact.” Defendants further object that this

17   Request is compound to the extent that it contains multiple sub-parts.

18          Defendants object to the extent that this Request calls for the production of proprietary,

19   confidential, or trade secret information that has little or no connection to the parties’ claims and

20   defenses in this action, imposing a further burden on Defendants that is out of line with

21   Plaintiffs’ legitimate needs. To the extent this Request seeks materials relating to third parties,

22   Defendants also object on the grounds that this Request calls for the production of materials not

23   relevant to Plaintiffs’ claims and for the production of proprietary, confidential, or trade secret

24   documents without the entry of a protective order.

25          Defendants further object that this Request seeks documents concerning works that have

26   not been identified as Works In Suit. In addition, Defendants object to this Request to the extent

27   that it seeks information concerning alleged infringements that Plaintiffs have failed to identify.

28
     DEFENDANTS’ RESPONSES AND OBJECTIONS
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 1   Defendants also object to this Request as unduly burdensome, overly broad (especially insofar as

 2   it demands that Defendants produce “all” procedures and documents), and not relevant to any

 3   party’s claim or defense or proportional to the needs of the case.

 4          Defendants further object that this Request is duplicative and cumulative of other

 5   discovery Requests. Defendants further object to the extent that this Request calls for the

 6   production of proprietary, confidential, or trade secret information that has little or no connection

 7   to the parties’ claims and defenses in this action, imposing a further burden on Defendants that is

 8   out of line with Plaintiff’s legitimate needs.

 9          Subject to and without waiving any of the foregoing objections, at a date agreed upon by

10   the parties, Defendants will produce reasonably accessible non-privileged documents located

11   through an inquiry proportionate to the needs of the case, if any, that are sufficient to show

12   YouTube’s policies and procedures regarding access to the Content ID tool.

13   DOCUMENT REQUEST NO. 23:

14          All Documents Concerning the following issues related to Your Content ID System:
15          a) Oversight of the Content ID System by United States or international regulators,
            lawmakers, or public officials;
16

17          b) Changes to the Content ID System, Including the reasons for any changes and the
            effects of changes on Your revenue;
18
            c) Changes to any policies or procedures applicable to the Content ID System,
19          Including the reasons for any changes and the effects of changes on Your revenue;
20
            d) Revenue for videos containing copyrighted material, Including revenue received
21          by You, compensation paid to the User that posts a video containing copyrighted
            material, and compensation paid to the owner(s) of the copyrighted materials;
22
            e) the cost to YouTube or Google of developing and administering the Content ID
23          System;
24
            f) Contracts that govern the relationship between You and any participant in the
25          Content ID System.

26
27

28
     DEFENDANTS’ RESPONSES AND OBJECTIONS
     TO PLAINTIFFS’ FIRST SET OF REQUESTS FOR          -32-                    CASE NO. 3:20-CV-04423-JD
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 1   RESPONSE TO DOCUMENTS REQUEST NO. 23:

 2           Defendants object to this Request because it calls for the production of materials relevant
 3   to a putative class of plaintiffs that has not been certified by the Court. Defendants object that
 4   this Request is compound and structurally confusing. Defendants also object to this Request on
 5   the grounds that it is vague and ambiguous in its use of the terms “oversight,” “international
 6   regulators,” “lawmakers,” “public officials,” changes,” “effects,” applicable,” “compensation,”
 7   “cost,” “administering,” and “participant.” Defendants also object to this Request as unduly
 8   burdensome, overly broad (especially insofar as it demands that Defendants produce “all”
 9   documents), and not relevant to any party’s claim or defense or proportional to the needs of the

10   case.
11           Defendants further object to the extent that this Request calls for the production of
12   proprietary, confidential, or trade secret information that has little or no connection to the parties’
13   claims and defenses in this action, imposing a further burden on Defendants that is out of line
14   with Plaintiff’s legitimate needs. To the extent this Request seeks materials relating to third
15   parties, Defendants object on the grounds that this Request calls for the production of materials
16   not relevant to Plaintiff’s claims and for the production of proprietary, confidential, or trade
17   secret documents without the entry of a protective order.
18           In addition, Defendants object to this Request to the extent that its expansive scope seeks
19   personal identifying information concerning numerous YouTube users and may implicate the
20   privacy rights of users who are entitled to protection under various consumer privacy laws in the
21   U.S. and internationally. Affected users should also be afforded an opportunity to object to

22   disclosure of their personal identifying information, and such an opportunity may be required as

23   a matter of law.

24           Subject to and without waiving any of the foregoing objections, Defendants will produce

25   reasonably accessible non-privileged documents located through an inquiry proportionate to the

26   needs of the case, if any, that are sufficient to show ongoing regulatory oversight of Content ID
27   in the United States and the terms governing access to the Content ID tool. To the extent Plaintiff
28
     DEFENDANTS’ RESPONSES AND OBJECTIONS
     TO PLAINTIFFS’ FIRST SET OF REQUESTS FOR           -33-                    CASE NO. 3:20-CV-04423-JD
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 1   believes any further response to this Request is necessary, Defendants will meet and confer with

 2   opposing counsel regarding an appropriate scope of information to be produced in response to

 3   this Request.

 4   DOCUMENT REQUEST NO. 24:

 5          All Documents from Your customer case management systems related to Content
     ID, Takedown Notices, or any other allegation, investigation, or policing of copyright
 6   infringement.
 7   RESPONSE TO DOCUMENTS REQUEST NO. 24:

 8           Defendants object to this Request because it calls for the production of materials relevant

 9   to a putative class of plaintiffs that has not been certified by the Court. Defendants also object to

10   this Request on the grounds that it is vague and ambiguous in its use of the terms “customer case

11   management systems,” “allegation,” and “policing.” Defendants further object to this Request as

12   unduly burdensome, overly broad (especially insofar as it demands that Defendants produce “all”

13   documents), and not relevant to any party’s claim or defense or proportional to the needs of the

14   case.

15           Defendants object that this Request is compound to the extent that it contains multiple

16   sub-parts. Defendants further object to the extent that this Request calls for the production of

17   proprietary, confidential, or trade secret information that has little or no connection to the parties’

18   claims and defenses in this action, imposing a further burden on Defendants that is out of line

19   with Plaintiff’s legitimate needs. Defendants further object that this Request seeks documents

20   that are protected by the attorney-client privilege, the attorney work-product doctrine, or both.

21           Subject to and without waiving any of the foregoing objections, Defendants will meet and

22   confer with opposing counsel regarding an appropriate scope of information to be produced in

23   response to this Request.

24   DOCUMENT REQUEST NO. 25:

25         All Documents Concerning Article 13 of the EU Copyright Directive’s impact on
     Your Content ID System and Your efforts to understand and comply with it.
26
27

28
     DEFENDANTS’ RESPONSES AND OBJECTIONS
     TO PLAINTIFFS’ FIRST SET OF REQUESTS FOR           -34-                    CASE NO. 3:20-CV-04423-JD
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 1   their relevance to the parties’ claims or defenses), and not relevant to any party’s claim or

 2   defense or proportional to the needs of the case.

 3           In addition, Defendants object to this Request because it seeks detailed technical

 4   information the aggregation and/or production of which would be highly burdensome in ways

 5   that are disproportionate to the legitimate needs of the case. To the extent this Request seeks

 6   materials relating to third parties, Defendants further object on the grounds that this Request calls

 7   for the production of materials not relevant to Plaintiffs’ claims and for the production of

 8   proprietary, confidential, or trade secret documents without the entry of a protective order.

 9           In addition, Defendants object to this Request to the extent that its expansive scope seeks

10   personal identifying information concerning numerous YouTube users and may implicate the

11   privacy rights of users who are entitled to protection under various consumer privacy laws in the

12   U.S. and internationally. Affected users should also be afforded an opportunity to object to

13   disclosure of their personal identifying information, and such an opportunity may be required as

14   a matter of law.

15   DOCUMENT REQUEST NO. 37:

16           All Documents Concerning the following issues related to Your Copyright Match
     Tool:
17
             a) Changes to the Copyright Match Tool, Including the reasons for any changes and
18
             the effects of changes on Your revenue;
19
             b) Procedures, criteria, manuals, logic Documents, terms of service, guidelines, or
20           policy Documents Concerning the Copyright Match Tool, Including all Documents
             Concerning the policies and any changes in policies Concerning access to the
21           Copyright Match Tool;
22
             c) Changes to any policies or procedures applicable to the Copyright Match Tool,
23           Including the reasons for any changes and the effects of changes on Your revenue;

24           d) Determinations of which Users or categories of Users are allowed to use the
             Copyright Match Tool, Including all Communications Concerning the decision to
25           restrict access to members of the YouTube Partner Program;
26
             e) The Copyright Match Tool’s processes for identifying matches for copyrighted
27           works, Including any changes to the processes, any evaluations of the efficacy or
             accuracy of the processes, and any complaints or comments Concerning the efficacy
28           or accuracy of the processes.
     DEFENDANTS’ RESPONSES AND OBJECTIONS
     TO PLAINTIFFS’ FIRST SET OF REQUESTS FOR            -45-                  CASE NO. 3:20-CV-04423-JD
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 1   RESPONSE TO DOCUMENTS REQUEST NO. 37:

 2          Defendants object to this Request because it calls for the production of materials relevant
 3   to a putative class of plaintiffs that has not been certified by the Court. Defendants object that
 4   this Request is compound and structurally confusing. Defendants also object to this Request as
 5   vague as ambiguous in its use of the terms “logic Documents,” “applicable,” “effects,” and
 6   “process,” and “complaints or comments.” Defendants also object to this Request on the grounds
 7   that it is overly broad and unduly burdensome (especially insofar as it demands that Defendants
 8   produce “all” documents), and not relevant to any party’s claim or defense or proportional to the
 9   needs of the case.

10          Subject to and without waiving any of the foregoing objections, at a date agreed upon by
11   the parties, Defendants will produce reasonably accessible non-privileged documents located
12   through an inquiry proportionate to the needs of the case, if any, that are sufficient to show how
13   the Copyright Match Tool works. To the extent Plaintiff believes any further response to this
14   Request is necessary, Defendants refer to their response to Schneider’s Interrogatory No. 7 and
15   will meet and confer with opposing counsel regarding an appropriate scope of information to be
16   produced in response to this Request.
17   DOCUMENT REQUEST NO. 38:
18          All Documents Concerning Copyright Strikes, Including the policies and procedures
     applicable to Copyright Strikes, any changes to those policies or procedures and the
19   reasons for such changes.
20

21   RESPONSE TO DOCUMENTS REQUEST NO. 38:
22          Defendants object to this Request because it calls for the production of materials relevant
23   to a putative class of plaintiffs that has not been certified by the Court. Defendants also object to
24   this Request on the grounds that it is unduly burdensome, overly broad (especially insofar as it
25   demands that Defendants produce “all” documents), and not relevant to any party’s claim or
26   defense or proportional to the needs of the case.
27

28
     DEFENDANTS’ RESPONSES AND OBJECTIONS
     TO PLAINTIFFS’ FIRST SET OF REQUESTS FOR            -46-                   CASE NO. 3:20-CV-04423-JD
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 1            Subject to and without waiving any of the foregoing objections, Defendants refer to their

 2   response to Schneider’s Interrogatory No. 7 and will meet and confer with opposing counsel

 3   regarding an appropriate scope of information to be produced in response to this Request.

 4   DOCUMENT REQUEST NO. 42:

 5          Documents sufficient to show Your formula for determining net revenue under the
     Account Monetization Program, Including any changes to that formula over time, the
 6   reasons for such changes, and the effect of such changes on Your revenue and the amount
     paid to Users and owners of copyright holders.
 7

 8   RESPONSE TO DOCUMENTS REQUEST NO. 42:
 9            Defendants object to this Request as vague and ambiguous in its use of the terms
10   “formula” and “net revenue.” Defendants also object to this Request on the grounds that it is
11   overly broad (especially in its use of the term “Account Monetization Program”), and not
12   relevant to any party’s claim or defense or proportional to the needs of the case. Defendants
13   further object to the extent that this Request calls for the production of proprietary, confidential,
14   or trade secret information that has little or no connection to the parties’ claims and defenses in
15   this action, imposing a further burden on Defendants that is out of line with Plaintiff’s legitimate
16   needs.
17            Subject to and without waiving any of the foregoing objections, Defendants will meet and
18   confer with opposing counsel regarding an appropriate scope of information to be produced in
19   response to this Request.
20   DOCUMENT REQUEST NO. 43:
21         Documents sufficient to show the following information Concerning the AutoPlay
     Feature for each month since the AutoPlay Feature was launched:
22

23            a) The number of times the Schneider Infringing Videos have been added to a queue
              and, separately, the number of times such videos were viewed by a User after being
24            added to a queue;

25            b) The number of times the Pirate Monitor Infringing Videos have been added to a
              queue and, separately, the number of times such videos were viewed by a User after
26            being added to a queue;
27
              c) The number of times the Removed Takedown Notice Videos have been added to a
28            queue and, separately, the number of times such videos were viewed by a User after

     DEFENDANTS’ RESPONSES AND OBJECTIONS
     TO PLAINTIFFS’ FIRST SET OF REQUESTS FOR           -50-                    CASE NO. 3:20-CV-04423-JD
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 1          being added to a queue;

 2          d) The number of times the Removed Takedown Notice Video Re-uploads have been
            added to a queue and, separately, the number of times such videos were viewed by a
 3
            User after being added to a queue;
 4
            e) The number of times the Successful Takedown Notice Videos have been added to
 5          a queue and, separately, the number of times such videos were viewed by a User
            after being added to a queue;
 6
            f) The number of times the Unsuccessful Takedown Notice Videos have been added
 7
            to a queue and, separately, the number of times such videos were viewed by a User
 8          after being added to a queue;

 9          g) The number of times videos subject to the Account Monetization Program were
            added to a queue and, separately, the number of times such videos were viewed by a
10          User after being added to a queue; and
11
            h) The number of times videos not subject to the Account Monetization Program
12          were added to a queue and, separately, the number of times such videos were viewed
            by a User after being added to a queue.
13

14   RESPONSE TO DOCUMENTS REQUEST NO. 43:

15          Defendants object to this Request because it calls for the production of materials relevant

16   to a putative class of plaintiffs that has not been certified by the Court. Defendants also object to

17   this Request as vague and ambiguous in its use of the terms “AutoPlay Feature,” “queue,”

18   “Schneider Infringing Videos,” “Pirate Monitor Infringing Videos,” “Removed Takedown

19   Notice Videos,” “Removed Takedown Notice Video Re-uploads,” “Successful Takedown Notice

20   Videos,” “Unsuccessful Takedown Notice Videos,” and “Account Monetization Program.”

21   Defendants further object to this Request on the grounds that it is unduly burdensome, overly

22   broad (especially to the extent it demands information related to videos not relevant to this

23   action), and not relevant to any party’s claim or defense or proportional to the needs of the case.

24   Defendants further object that this Request is compound and structurally confusing.

25          Defendants also object to the extent that this Request calls for the production of

26   proprietary, confidential, or trade secret information that has little or no connection to the parties’

27

28
     DEFENDANTS’ RESPONSES AND OBJECTIONS
     TO PLAINTIFFS’ FIRST SET OF REQUESTS FOR           -51-                    CASE NO. 3:20-CV-04423-JD
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 1   claims and defenses in this action, imposing a further burden on Defendants that is out of line

 2   with Plaintiff’s legitimate needs.

 3          Defendants object to this Request because it seeks detailed technical information the

 4   aggregation and/or production of which would be highly burdensome in ways that are

 5   disproportionate to the legitimate needs of the case. Defendants further object to this Request

 6   because it seeks information that Defendants do not collect and/or log in the ordinary course of

 7   its business and the production of which is therefore not possible.

 8          Subject to and without waiving any of the foregoing objections, Defendants will meet and

 9   confer with opposing counsel regarding an appropriate scope of information to be produced in

10   response to this Request.

11   DOCUMENT REQUEST NO. 44:

12         All Documents describing the Autoplay Feature, Including changes to how the
     AutoPlay Feature works and implementation of the AutoPlay Feature.
13

14   RESPONSE TO DOCUMENTS REQUEST NO. 44:

15          Defendants object to this Request as vague and ambiguous in its use of the phrase

16   “implementation of the AutoPlay Feature.” Defendants also object to this Request on the grounds

17   that it is overly broad (especially insofar as it demands that Defendants produce “all” all

18   documents), and not relevant to any party’s claim or defense or proportional to the needs of the

19   case. Defendants further object to the extent that this Request calls for the production of

20   proprietary, confidential, or trade secret information that has little or no connection to the parties’

21   claims and defenses in this action, imposing a further burden on Defendants that is out of line

22   with Plaintiff’s legitimate needs. Defendants further object that this Request seeks documents

23   that are protected by the attorney-client privilege, the attorney work-product doctrine, or both.

24          Subject to and without waiving any of the foregoing objections, at a date agreed upon by

25   the parties, Defendants will produce reasonably accessible non-privileged documents located

26   through an inquiry proportionate to the needs of the case, if any, that are sufficient to show how

27   the AutoPlay feature on the YouTube platform works.

28
     DEFENDANTS’ RESPONSES AND OBJECTIONS
     TO PLAINTIFFS’ FIRST SET OF REQUESTS FOR           -52-                    CASE NO. 3:20-CV-04423-JD
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 1   DOCUMENT REQUEST NO. 45:

 2          All Documents Concerning the following issues related to the AutoPlay Feature:
 3          a) Changes to any policies or procedures applicable to the AutoPlay Feature,
            Including the reasons for such changes;
 4

 5          b) Any tools, features, or settings available to users with access to the Content ID
            System that affect any function of the AutoPlay Feature;
 6
            c) Any tools, features, or settings available to users in the Account Monetization
 7          Program or YouTube Partner Program that affect any function of the AutoPlay
 8          Feature;

 9          d) The effect if any of Your receipt of a Takedown Notice on any function of the
            AutoPlay Feature.
10

11   RESPONSE TO DOCUMENTS REQUEST NO. 45:

12          Defendants object to this Request as vague and ambiguous in its use of the term

13   “AutoPlay Feature” and the phrase “affect any function.” Defendants object to this Request on

14   the grounds that it is unduly burdensome, overly broad (especially insofar as it demands that

15   Defendants produce “all” all documents), and not relevant to any party’s claim or defense or

16   proportional to the needs of the case.

17          Even if this Request were relevant to the claims in this action, it still would be improper.

18   Defendants object that this Request seeks documents that are protected by the attorney-client

19   privilege, the attorney work-product doctrine, or both. Defendants also object to the extent that

20   this Request calls for the production of proprietary, confidential, or trade secret information that

21   has little or no connection to the parties’ claims and defenses in this action, imposing a further

22   burden on Defendants that is out of line with Plaintiff’s legitimate needs.

23          Defendants further object that this Request is compound and structurally confusing.

24   Defendants further object that this Request is duplicative and cumulative of other discovery

25   Requests.

26          Subject to and without waiving any of the foregoing objections, at a date agreed upon by

27   the parties, Defendants will produce reasonably accessible non-privileged documents located

28
     DEFENDANTS’ RESPONSES AND OBJECTIONS
     TO PLAINTIFFS’ FIRST SET OF REQUESTS FOR           -53-                   CASE NO. 3:20-CV-04423-JD
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 1   through an inquiry proportionate to the needs of the case, if any, that are sufficient to show: how

 2   the AutoPlay feature on the YouTube platform works; any tools, features, or settings available to

 3   Content ID users that affect the AutoPlay Feature; any tools, features, or settings available to

 4   participants in the Account Monetization Program or the YouTube Partner Program that affect

 5   the AutoPlay Feature; and the effect, if any, of a Takedown Notice on the AutoPlay Feature.

 6   DOCUMENT REQUEST NO. 46:

 7         Documents sufficient to show the following information for each month since the
     Content ID System was launched:
 8
            a) Your revenue, Including the revenue for Google and the revenue for YouTube
 9
            stated separately;
10
            b) The amount of YouTube’s revenue that is derived from advertising Concerning
11          videos posted on the platform (“YouTube video advertising revenue”);
12          c) The portion of YouTube video advertising revenue that is retained by You, paid
13          out to Users that post videos, and paid out to the owners of copyrighted content.

14
            d) The amount of YouTube video advertising revenue that is derived from videos
15          that do not have advertisements.

16   RESPONSE TO DOCUMENTS REQUEST NO. 46:
17          Defendants object to this Request as vague and ambiguous in its use of the phrase “video
18   advertising revenue that is derived from videos that do not have advertisements.” Defendants
19   further object that this Request is not relevant to any party’s claim or defense or proportional to
20   the needs of the case.
21          Even if this Request were relevant to the claims in this action, it still would be improper.
22   Defendants object that this Request seeks documents that are protected by the attorney-client
23   privilege, the attorney work-product doctrine, or both. Defendants further object that this
24   Request is compound and structurally confusing. Defendants also object to the Request to the
25   extent information sought is already in the possession of the Requesting party, or is otherwise
26   equally accessible and available to the Requesting party from other sources (including the public
27   record). To the extent this Request seeks materials relating to third parties, Defendants object on
28
     DEFENDANTS’ RESPONSES AND OBJECTIONS
     TO PLAINTIFFS’ FIRST SET OF REQUESTS FOR          -54-                    CASE NO. 3:20-CV-04423-JD
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 1   imposing a further burden on Defendants that is out of line with Plaintiff’s legitimate needs. To

 2   the extent this Request seeks materials relating to third parties, Defendants further object on the

 3   grounds that this Request calls for the production of materials not relevant to Plaintiffs’ claims

 4   and for the production of proprietary, confidential, or trade secret documents without the entry of

 5   a protective order.

 6          Subject to and without waiving any of the foregoing objections, Defendants will meet and

 7   confer with opposing counsel regarding an appropriate scope of information to be produced in

 8   response to this Request.

 9   DOCUMENT REQUEST NO. 65:

10         All Documents Concerning Your participation in any matter or proceeding
     Concerning copyright infringement by or involving Your Users.
11

12   RESPONSE TO DOCUMENTS REQUEST NO. 65:

13          Defendants object to this Request on the grounds that it is vague, ambiguous, unduly

14   burdensome, and overly broad (especially insofar as it demands that Defendants produce “[a]ll”

15   documents). In particular, the Request is vague and ambiguous in its use of the term

16   “participation.” Defendants also object that this Request is compound to the extent that it

17   contains multiple sub-parts. Defendants further object to the extent that this Request calls for the

18   production of proprietary, confidential, or trade secret information that has little or no connection

19   to the parties’ claims and defenses in this action, imposing a further burden on Defendants that is

20   out of line with Plaintiff’s legitimate needs.

21          Subject to and without waiving any of the foregoing objections, Defendants will meet and

22   confer with opposing counsel regarding an appropriate scope of information to be produced in

23   response to this Request.

24   DOCUMENT REQUEST NO. 66:

25          All Documents Concerning the following issues related to Fair Use:

26          a) Policies and procedures applicable to Fair Use, Including any changes to those
            policies and procedures;
27

28          b) Any instances in which You have paid or reimbursed all or some of the defense

     DEFENDANTS’ RESPONSES AND OBJECTIONS
     TO PLAINTIFFS’ FIRST SET OF REQUESTS FOR          -70-                    CASE NO. 3:20-CV-04423-JD
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 1          costs in a lawsuit or other proceeding Concerning Fair Use;

 2          c) Any efforts to create a filter for rejecting false or inadequate claims of Fair Use;
 3
            d) Discussion of Users who have invoked Fair Use in response to an allegation of
 4          copyright infringement;

 5          e) Your efforts to inform Users of Your policies and procedures applicable to Fair
            Use.
 6

 7   RESPONSE TO DOCUMENTS REQUEST NO. 66:
 8          Defendants object to this Request on the grounds that it is vague, ambiguous, unduly
 9   burdensome, and overly broad (especially insofar as it demands that Defendants produce “[a]ll”
10   documents). In particular, the Request is vague and ambiguous in its use of the phrase “paid or
11   reimbursed all or some of the defense costs in a lawsuit or other proceeding Concerning Fair
12   Use.” The Request is also vague and ambiguous in its use of the phrase “Discussion of Users
13   who have invoked Fair Use in response to an allegation of copyright infringement.” Defendants
14   further object that this request seeks documents that are protected by the attorney-client
15   privilege, the attorney work-product doctrine, or both.
16          Defendants also object that this Request is compound and structurally confusing.
17   Defendants further object to the extent that this Request calls for the production of proprietary,
18   confidential, or trade secret information that has little or no connection to the parties’ claims and
19   defenses in this action, imposing a further burden on Defendants that is out of line with
20   Plaintiff’s legitimate needs. To the extent this Request seeks materials relating to third parties,
21   Defendants further object on the grounds that this Request calls for the production of materials
22   not relevant to Plaintiff’s claims and for the production of proprietary, confidential, or trade
23   secret documents without the entry of a protective order.
24          In addition, Defendants object to this Request to the extent that its expansive scope seeks
25   personal identifying information concerning numerous YouTube users and may implicate the
26   privacy rights of users who are entitled to protection under various consumer privacy laws in the
27   U.S. and internationally. Affected users should also be afforded an opportunity to object to
28
     DEFENDANTS’ RESPONSES AND OBJECTIONS
     TO PLAINTIFFS’ FIRST SET OF REQUESTS FOR           -71-                    CASE NO. 3:20-CV-04423-JD
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 1   disclosure of their personal identifying information, and such an opportunity may be required as

 2   a matter of law.

 3          Subject to and without waiving any of the foregoing objections, at a date agreed upon by

 4   the parties, Defendants will produce reasonably accessible non-privileged documents located

 5   through an inquiry proportionate to the needs of the case, if any, that are sufficient to show

 6   YouTube’s policies and procedures regarding Fair Use.

 7   DOCUMENT REQUEST NO. 67:

 8         Documents sufficient to show the following information Concerning Fair Use for
     each month since the Content ID System was launched:
 9
            a) The total number of Users who have invoked Fair Use in response to an allegation
10
            of copyright infringement;
11
            b) The number of videos for which a User has invoked Fair Use in response to an
12          allegation of copyright infringement;
13          c) Your determination about how many claims by Users who have invoked Fair Use
14          meet the applicable criteria for Fair Use;

15          d) The total number of videos removed from Your platform posted by Users who
            have invoked Fair Use;
16
            e) The total number of Copyright Strikes issued to Users who have invoked Fair
17          Use.
18   RESPONSE TO DOCUMENTS REQUEST NO. 67:
19          Defendants object to this Request on the grounds that it is vague and ambiguous, unduly
20   burdensome, overly broad, and not relevant to any party’s claim or defense or proportional to the
21   needs of the case. In particular, the Request is vague and ambiguous in its use of the phrases “for
22   which a User has invoked Fair Use,” “determination about how many claims,” and “removed
23   from Your platform posted by Users who have invoked Fair Use.” Defendants also object that
24   this Request is compound and structurally confusing. Defendants further object that this request
25   seeks documents that are protected by the attorney-client privilege, the attorney work-product
26   doctrine, or both.
27

28
     DEFENDANTS’ RESPONSES AND OBJECTIONS
     TO PLAINTIFFS’ FIRST SET OF REQUESTS FOR          -72-                    CASE NO. 3:20-CV-04423-JD
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 1          Defendants object to this Request because it seeks information that Defendants do not

 2   collect and/or log in the ordinary course of its business and the production of which is therefore

 3   not possible. Defendants also object to the extent that this Request calls for the production of

 4   proprietary, confidential, or trade secret information that has little or no connection to the parties’

 5   claims and defenses in this action, imposing a further burden on Defendants that is out of line

 6   with Plaintiff’s legitimate needs. To the extent this Request seeks materials relating to third

 7   parties, Defendants further object on the grounds that this Request calls for the production of

 8   materials not relevant to Plaintiff’s claims and for the production of proprietary, confidential, or

 9   trade secret documents without the entry of a protective order.

10   DOCUMENT REQUEST NO. 68:

11          All Documents Concerning Your negotiations with any Performance Rights
     Organization, Including the contracts between you and any Performance Rights
12   Organization and Documents Concerning the Content ID System, how revenue is shared
     with copyright holders, and Copyright Management Information.
13

14   RESPONSE TO DOCUMENTS REQUEST NO. 68:
15          Defendants object to this Request on the grounds that it is vague, ambiguous, unduly
16   burdensome, overly broad (especially insofar as it demands that Defendants produce “[a]ll”
17   documents), and not relevant to any party’s claim or defense or proportional to the needs of the
18   case. In particular, the Request is vague and ambiguous in its use of the term “negotiations.”
19          Defendants object that this Request seeks documents that are protected by the attorney-
20   client privilege, the attorney work-product doctrine, or both. Defendants also object to the extent
21   that this Request calls for the production of proprietary, confidential, or trade secret information
22   that has little or no connection to the parties’ claims and defenses in this action, imposing a
23   further burden on Defendants that is out of line with Plaintiff’s legitimate needs. To the extent
24   this Request seeks materials relating to third parties, Defendants further object on the grounds
25   that this Request calls for the production of materials not relevant to Plaintiff’s claims and for the
26   production of proprietary, confidential, or trade secret documents without the entry of a
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     DEFENDANTS’ RESPONSES AND OBJECTIONS
     TO PLAINTIFFS’ FIRST SET OF REQUESTS FOR           -73-                    CASE NO. 3:20-CV-04423-JD
     PRODUCTION
      Case 3:20-cv-04423-JD Document 149-2 Filed 06/28/22 Page 28 of 29



 1   RESPONSE TO DOCUMENTS REQUEST NO. 77:

 2          Defendants object to this Request on the grounds that it is overly broad insofar as it
 3   demands that Defendants produce “[a]ll” documents. Defendants also object that this Request
 4   seeks documents that are protected by the attorney-client privilege, the attorney work-product
 5   doctrine, or both. Defendants further object to the extent that this Request calls for the
 6   production of proprietary, confidential, or trade secret information that has little or no connection
 7   to the parties’ claims and defenses in this action, imposing a further burden on Defendants that is
 8   out of line with Plaintiff’s legitimate needs.
 9          Subject to and without waiving any of the foregoing objections, at a date agreed upon by

10   the parties and after the entry of a protective order, Defendants will make available for inspection
11   a copy of relevant portions of its captive insurance policy held through IMI Assurance Inc.
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14   Dated: December 4, 2020                      WILSON SONSINI GOODRICH & ROSATI
                                                  Professional Corporation
15
                                                  By:      /s/ David H. Kramer
16                                                         David H. Kramer
17
                                                  Attorneys for Defendants and Counterclaimants
18                                                YOUTUBE, LLC and GOOGLE LLC
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     DEFENDANTS’ RESPONSES AND OBJECTIONS
     TO PLAINTIFFS’ FIRST SET OF REQUESTS FOR           -80-                   CASE NO. 3:20-CV-04423-JD
     PRODUCTION
      Case 3:20-cv-04423-JD Document 149-2 Filed 06/28/22 Page 29 of 29



 1                                    CERTIFICATE OF SERVICE

 2          I, Deborah Grubbs, declare:
 3          I am employed in Santa Clara County, State of California. I am over the age of 18 years
 4   and not a party to the within action. My business address is Wilson Sonsini Goodrich & Rosati,
 5   650 Page Mill Road, Palo Alto, California 94304-1050.
 6          On this date, I served:
 7          1.      DEFENDANTS AND COUNTERCLAIMANTS YOUTUBE, LLC AND
                    GOOGLE LLC’S RESPONSES AND OBJECTIONS TO PLAINTIFFS’
 8                  FIRST SET OF REQUESTS FOR PRODUCTION (NOS. 1-77)
 9          ‫܈‬       By forwarding the document(s) by electronic transmission on this date to the
                    Internet email address listed below:
10
                    BSFYouTube@bsfllp.com and Ktyoutube@koreintillery.com
11

12          I am readily familiar with Wilson Sonsini Goodrich & Rosati’s practice for collection and
13   processing of documents for delivery according to instructions indicated above. In the ordinary
14   course of business, documents would be handled accordingly.
15

16          I declare under penalty of perjury under the laws of the United States of America and
17   State of California that the foregoing is true and correct. Executed at San Mateo, California on
18   December 4, 2020.
19

20
                                                                 Deborah Grubbs
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     CERTIFICATE OF SERVICE                            -1-                 CASE NO. 3:20-CV-04423-JD
